        Case 4:19-cr-00219-BRW Document 110 Filed 03/14/22 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION

UNITED STATES OF AMERICA

v.                                                            Case Nos. 4:19-cr-00219-3-BRW
                                                                       4:21-cr-00215-1-BRW
CHRISTOPHER DAVID HIGGINS

                                            ORDER

       Defendant seeks temporary release from custody for the purpose of attending a medical

appointment.   (Case No. 4:19-cr-00219-3-BRW, Doc. No. 108; Case No. 4:21-cr-00215-1-BRW,

Doc. Nos. 32, 34. 1 )   Pursuant to 18 U.S.C. § 3142(i), I find the appointment qualifies as a

compelling reason for temporary release.    Accordingly, Defendant’s Motion is GRANTED.

       IT IS, THEREFORE, ORDERED that:

       1.      Defendant be temporarily released from custody on Thursday, March 17, 2022, no

earlier than 8:45 a.m., for the sole purpose of attending a 2:00 p.m. appointment at the UAMS

Surgery Clinic in Little Rock, Arkansas.

       2.      Defendant’s family is to provide Defendant with transportation to and from the

appointment.

       3.      Defendant is to return to his current place of custody no later than 8:30 p.m. sharp

on Thursday, March 17, 2022.

       SO ORDERED this 14th day of March 2022.



                                                     ___________________________________
                                                     JOE J. VOLPE
                                                     UNITED STATES MAGISTRATE JUDGE



1
  I note that Doc. No. 32 was referred to me (Doc. No. 33) before Doc. No. 34 was filed. Doc.
No. 34 is an identical motion correcting the case number. Pursuant to the referral, this Order
resolves the Motion.
